             Case 4:21-cv-00924 Document 1-2 Filed on 03/22/21 in TXSD Page 1 of 5



                                      OFFICE OF TENESHIA HUDSPETH
                                        COUNTY CLERK,HARRIS COUNTY,TEXAS
                                         COUNTY CIVIL COURTS DEPARTMENT

                                                Docket Number: 1164212
                                    Receipt Number: Date: Sheriff/Constable Fee: $

BEATRICE CONTRERAS,ET AL
Plaintiff                                                            In The County Civil Court at Law No.2
VS.                                                                  201 Caroline #517
WAL-MART,STORES TEXAS,LLC                                            Houston,Tx 77002
Defendant

                                                 THE STATE OF TEXAS
                                             ORIGINAL PETITION CITATION

To:      WAL-MART,STORES TEXAS,LLC
         C/O REGISTERED AGENT: CT CORPORATION SYSTEM
         1999 BRYAN ST SUITE 900
         DALLAS,TEXAS 75201

Attached is a copy of petition.
This instrument was filed on the 22nd day of January,2021, in the above cited cause number and court. The instrument
attached describes the claim against you.

You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the county
clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a defaultjudgment may be taken against you.

Issued and given under my hand and the seal of said court, at Houston, Texas, on this 25th day of January, 2021

(Seal)                                                       Teneshia Hudspeth, County Clerk
                                                             County Civil Court at Law No.2
                                                             201 Caroline, Suite 300
                                                             Harris County, Texas 77002



                                                                    othpzegotke,
                                                             Barbara Prashaw
                                                             Deputy County Clerk
 Requested           ALAN ROBERT KOLODNY
 By:                 FORREST KOLODNY & °NEILL
                     1011 AUGUSTA DRIVE SUITE 111
                     HOUSTON TX 77057




                                             P.O. Box 1525• Houston,TX 77251-1525•(713)274-1374

          Form No. H01029(Rev. 08/29/2016)               WWW.CCLERK.Hcrx NET                       Page 1 of 1




                                                                                                         Exhibit A
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                                                                       OFFICER'S RETURN

 Came to hand on                                                                                     at                   o'clock _.M. and

 executed in                                                                          County, Texas, by delivering to each of the within named Defendants, in
   rson,a true copy of this Citation together with the accompanying copy of the Plaintiffs petition, at the following time and places to-wit:

                                                        DATE                                          TIME
                      NAME                                                                                                           PLACE OR
                                                        Month         Day        Year          Hour / MM.- AM/PM                 ADDRESS OF SERVICE




 and not executed as to the Defendant


 the diligence used in finding said Defendant , being


 and the cause of failure to execute this process is:
 and the information received as to the whereabouts ofthe said Defendant, being:


                                                                                                                                                           (Sheriff)
(Authorized Person)                                                                                                                                 (Constable)
 Sworn to and subscribed before me this                         day                                                                         County,Texas

 of
                                                                                         By                                                                            Deputy
(Notary Public)



                                            RETURN FOR NOTICE TO SERVE NON-RESIDENT DEFENDANT

 STATE OF

 COUNTY OF

 Before me,the undersigned authority, personally appeared
 a person competent to make oath, and who by me being duly sworn, deposes and says; that this notice came to hand on
                                                                                        at                          o'clock A.M./P.M., and executed by delivering
 to defendant,                                                                     gin person, at
 in                                                              County                       ,State of
                                                                ,on                                                          ,at                             o'clock
 A.M./P.M., a true copy of the notice, with a copy of plaintiffs petition attached thereto. He further says that he is in no manner interested in this Suit.


Sworn to and subscribed before me,


                                                                                                                                                           (Sheriff)
                                                                                                                                                       (Constable)
                                                                                                                                                         ,County,


                                                                             State of


                                                                                        By                                                                             Deputy



Form No. H-01-28(Rev. 08/01/2011)
                                                                                                                                          Exhibit A
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                                                                                                   Service of Process
                                                                                                   Transmittal
                                                                                                   02/22/2021
                                                                                                   CT Log Number 539090702
TO:         Kim Lundy Service Of Process
            Walmart Inc.
            702 SW 8TH ST
            BENTONVILLE, AR 72716-6209

RE:         Process Served in Texas

FOR:        Wal-Mart Stores Texas, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                                 Contreras Beatrice, etc., Pltf. vs. Wal-Mart Stores Texas, LLC, Dft.
DOCUMENT(S) SERVED:                              Citation, Return, Petition
COURT/AGENCY:                                    County Civil Court at Law No. 2 Denton County, TX
                                                 Case # 1164212
NATURE OF ACTION:                                Personal Injury - Slip/Trip and Fall - 04/24/2020 - Walmart Store Located at 111 Yale
                                                 Street, Houston, TX, 77007
ON WHOM PROCESS WAS SERVED:                      C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:                        By Process Server on 02/22/2021 at 03:48
JURISDICTION SERVED :                            Texas
APPEARANCE OR ANSWER DUE:                        By 10:00 a.m. on the Monday next following the expiration of 20 days after service
                                                 (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):                         Alan Kolodny
                                                 Kolodny Law Firm, PLLC
                                                 1011 Augusta Dr., Suite 111
                                                 Houston, TX 77057
                                                 712-532-4474
ACTION ITEMS:                                    CT has retained the current log, Retain Date: 02/23/2021, Expected Purge Date:
                                                 02/28/2021

                                                 Image SOP

                                                 Email Notification, Kim Lundy Service Of Process ctlawsuits@walmartlegal.com

REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                 1999 Bryan Street
                                                 Suite 900
                                                 Dallas, TX 75201
                                                 877-564-7529
                                                 MajorAccountTeam2@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                   Page 1 of 2 / PK




                                                                                                                                        Exhibit A
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                                                                                                    Service of Process
                                                                                                    Transmittal
                                                                                                    02/22/2021
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            Walmart Inc.
            702 SW 8TH ST
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RE:         Process Served in Texas

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advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
therein.




                                                                                                    Page 2 of 2 / PK




                                                                                                                                         Exhibit A
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                                                                         Wolters Kluwer

                               PROCESS SERVER DELIVERY DETAILS




Date:                             Mon, Feb 22, 2021

Server Name:                      Mauricio Segovia




Entity Served                     WAL-MART STORES TEXAS, LLC

Agent Name                        CT CORPORATION SYSTEM

Case Number                       1164212

J urisdiction                     TX




   P                                                            1
                                                                               Exhibit A
